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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


DANA RUTH LIXENBERG, an individual,         Case No.: 1:22-cv-354

Plaintiff,                                  COMPLAINT FOR:

v.                                          1. Copyright Infringement
                                            2. Vicarious and/or Contributory Copyright
COMPLEX MEDIA, INC., a Delaware                Infringement; and
corporation; and DOES 1-10,                 3. Violations of the Digital Millennium
                                               Copyright Act (17 U.S.C. § 1202)
Defendants.
                                            JURY TRIAL DEMANDED




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        Plaintiff, Dana Ruth Lixenberg (“Lixenberg” or “Plaintiff”), by and through her

undersigned attorneys, hereby prays for the following relief through her complaint, against all

defendants, alleges as follows:

                                      JURISDICTION AND VENUE
        1. This action arises under the Copyright Act of 1976, Title 17 U.S.C., § 101 et seq.
        2. This Court has federal question jurisdiction under 28 U.S.C. § 1331 and 1338 (a)
and (b).

        3. Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and 1400(a) in that
this is the judicial district in which a substantial part of the acts and omissions giving rise to the
claims occurred.
                                              PARTIES
        4. Plaintiff, Dana Ruth Lixenberg (“Lixenberg”), is an individual currently residing in
the Netherlands.
        5. Plaintiff is informed and believes and thereon alleges that Defendant Complex Media,
Inc. (“Complex”) is a Delaware corporation, having its principal place of business at 229 West
43rd Street, New York, New York 10036-3982, and is doing business within this District.
        6. Defendants Does 1 through 10, inclusive (collectively with Complex, “Defendants”),
are other parties who have infringed Plaintiff’s copyright, have contributed to the infringement of
Plaintiff’s copyright, or have engaged in one or more of the wrongful practices alleged herein.
The true names, whether corporate, individual, or otherwise, of Defendants 1 through 10,
inclusive, are presently unknown to Plaintiff, who therefore sues said Defendants by such
fictitious names, and will seek leave to amend this Complaint to show their true names and
capacities when same have been ascertained.
        7. Plaintiff is informed and believes and thereon alleges that at all times relevant hereto
each of the Defendants was the agent, affiliate, officer, director, manager, principal, alter-ego,
and/or employee of the remaining Defendants and was at all times acting within the scope of
such agency, affiliation, alter-ego relationship and/or employment; and actively participated in or


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subsequently ratified and adopted, or both, each and all of the acts or conduct alleged, with full
knowledge of all the facts and circumstances, including, but not limited to, full knowledge of

each and every violation of Plaintiff’s rights and the damages proximately caused thereby.
            CLAIMS RELATED TO PLAINTIFF’S PHOTOGRAPHIC WORK
       8. Lixenberg is a critically acclaimed photographer well-renowned for, amongst other
things, creating compelling and resonant portraiture and imagery. Her celebrated portfolio
includes photographs depicting cultural icons as Tupac Shakur as Jay-Z, among others. Much of
Lixenberg’s work has been dedicated to the portrayal of underserved and marginalized
communities.
       9. Plaintiff created and exclusively owns the photography depicting famed musician
Notorious B.I.G., depicted in Exhibit A attached hereto (the “Subject Photography”).
       10. Plaintiff complied in all respects with the Copyright Act, 17 U.S.C. § 101 et seq., and
is the sole owner of the exclusive rights, title, interests, and privileges in and to the Subject
Photographs, which Lixenberg has registered with the United States Copyright Office.
       11. Prior to the acts complained of herein, Plaintiff publicly displayed and distributed the
Subject Photography.
       12. Defendants, and each of them, have willfully copied, reproduced, displayed, and
distributed the Subject Photography for financial benefit and without Plaintiff’s consent, by,
without limitation, incorporating the Subject Photography in online posts and articles, including
and without limitation at website https://www.complex.com, which is owned and operated by
and through Complex, in an article entitled “Biggie’s Birthday is Now Officially “The
Notorious B.I.G. Day in Brooklyn” (“the Infringing Use”). True and correct copies and screen
captures of Defendants’ unauthorized uses are depicted in Exhibit B attached hereto.
       13. Upon information and belief, Lixenberg alleges that Defendants, and each of them,
had access to the Subject Photographs, including through Lixenberg’s numerous online profiles
and features, online publications and press featuring Lixenberg’s work, Lixenberg’s social




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media accounts, and/or through viewing the Subject Photography on third-party websites (e.g.,
Tumblr, Pinterest, internet search engines, etc.).

       14. Lixenberg has not in any way authorized Defendants to copy, reproduce, duplicate,
disseminate, distribute, or create derivative works of the Subject Photography.
       15. Prior to the filing of this litigation, Lixenberg, through counsel, contacted Defendant
and demanded that they remove the infringing work at issue and requested that they resolve the
dispute on a reasonable basis. Despite the foregoing, no reasonable resolution could be reached.
                                 FIRST CLAIM FOR RELIEF
             (For Copyright Infringement - Against All Defendants, and Each)
       16. Plaintiff repeats, re-alleges, and incorporates herein by reference as though fully set
forth, the allegations contained in the preceding paragraphs.
       17. Plaintiff alleges on information and belief that Defendants, and each of them,
accessed the Subject Photography by, without limitation, viewing the Subject Photography on
Plaintiff’s website or social media profiles, on other sites online, or in physical publications. The
identicality of the copying also shows access.
       18. Plaintiff alleges on information and belief that Defendants, and each of them, copied,
reproduced, displayed, and distributed the Subject Photography as part of the Infringing
Content, as depicted in Exhibit B hereto.
       19. Plaintiff alleges on information and belief that Defendants, and each of them,
infringed Plaintiff’s copyrights by creating infringing derivative works from the Subject
Photography and publishing same to the public.
       20. Due to Defendants’, and each of their, acts of infringement, Plaintiff has suffered
general and special damages in an amount to be established at trial.
       21. Due to Defendants’ acts of copyright infringement as alleged herein, Defendants, and
each of them, have obtained direct and indirect profits they would not otherwise have realized
but for their infringement of Plaintiff’s rights in the Subject Photography. As such, Plaintiff is
entitled to disgorgement of Defendants’ profits directly and indirectly attributable to



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Defendants’ infringement of Plaintiff’s rights in the Subject Photography in an amount to be
established at trial.

       22. Plaintiff alleges on information and belief that Defendants, and each of them, have
committed acts of copyright infringement, as alleged above, which were willful, intentional and
malicious, which further subjects Defendants, and each of them, to liability for statutory
damages under Section 504(c)(2) of the Copyright Act in the sum of up to $150,000.00 per
infringement and/or a preclusion from asserting certain equitable and other defenses.
                                SECOND CLAIM FOR RELIEF
(For Vicarious and/or Contributory Copyright Infringement – Against all Defendants, and
                                               Each)
       23. Plaintiff repeats, re-alleges, and incorporates herein by reference as though fully set
forth, the allegations contained in the preceding paragraphs.
       24. Plaintiff alleges on information and belief that Defendants knowingly induced,
participated in, aided and abetted in and profited from the illegal reproduction and distribution
of the Subject Photography as alleged hereinabove. Such conduct included, without limitation,
publishing photographs obtained from third parties that Defendant(s) knew, or should have
known, were not authorized to be published by Defendant(s); publishing the Infringing Content
on affiliate, third-party, and social media sites; and distributing the Infringing Content to third-
parties and the public.
       25. Plaintiff alleges on information and belief that Defendants, and each of them, are
vicariously liable for the infringement alleged herein because they had the right and ability to
supervise the infringing conduct and because they had a direct financial interest in the infringing
conduct. Specifically, Defendants, and each of them, received revenue in connection with the
Infringing Content, and were able to supervise the distribution, broadcast, and publication of
said content.




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       26. By reason of the Defendants’, and each of their, acts of contributory and vicarious
infringement as alleged above, Plaintiff has suffered general and special damages in an amount

to be established at trial.
       27. Due to Defendants’ acts of copyright infringement as alleged herein, Defendants, and
each of them, have obtained direct and indirect profits they would not otherwise have realized
but for their infringement of Plaintiff’s rights in the Subject Photography. As such, Plaintiff is
entitled to disgorgement of Defendants’ profits directly and indirectly attributable to
Defendants’ infringement of their rights in the Subject Photography, in an amount to be
established at trial.
       28. Plaintiff alleges on information and belief that Defendants, and each of them, have
committed acts of copyright infringement, as alleged above, which were willful, intentional and
malicious, which further subjects Defendants, and each of them, to liability for statutory
damages under Section 504(c)(2) of the Copyright Act in the sum of up to $150,000.00 per
infringement and/or a preclusion from asserting certain equitable and other defenses.
                                THIRD CLAIM FOR RELIEF
         (For Violations of the 17 U.S.C. §1202 – Against all Defendants, and Each)
       29. Plaintiff repeats, re-alleges, and incorporates herein by reference as though fully set
forth, the allegations contained in the preceding paragraphs.
       30. The Subject Photography was routinely published with attribution, credit, and other
copyright management information identifying Plaintiff as the author,
       31. Plaintiff alleges on information and belief that Defendants, and each of them,
removed Plaintiff’s copyright management information, as described above, from the Subject
Photography, and/or added false copyright management information to the Subject
Photography, before distributing and publishing same.
       32. Plaintiff alleges on information and belief that Defendants, and each of them,
distributed and published the Subject Photography at and on websites bearing the URL(s)




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depicted in Exhibit B hereto, under its own name, and removing Plaintiff’s attribution
information, including without limitation his name and/or metadata.

       33. The aforementioned facts concern “copyright management information” as that
phrase is defined in 17 U.S.C. § 1202(c) and said information on and in the Infringing Content
is false.
       34. When Defendants distributed and published the Subject Photography, they
knowingly provided and/or distributed false copyright management information in violation of
17 U.S.C. § 1202(a). As a result of the foregoing, Plaintiff has been damaged and may recover
those damages as well as Defendants’ profits, and/or statutory damages, and attorneys’ fees
under 17 U.S.C. § 1203.
                                    PRAYER FOR RELIEF
       WHEREFORE, Plaintiff prays for judgment as follows:
                                   Against all Defendants, and Each:
       With Respect to Each Claim for Relief:
       1.      That Defendants, and each of them, as well as their employees, agents, or anyone
acting in concert with them, be enjoined from infringing Plaintiff’s copyright in the Subject
Photography, including, without limitation, an order requiring Defendants, and each of them, to
remove the Subject Photography from any print, website, or other publication owned, operated
and controlled by any Defendant;
       2.      That Plaintiff be awarded all profits of Defendants, and each of them, plus all
losses of Plaintiff, plus any other monetary advantage gained by the Defendants, and each of
them, through their infringement, the exact sum to be proven at the time of trial, and, to the
extent available, statutory damages as available under the 17 U.S.C. § 504, 17 U.S.C. §1203, and
other applicable law;
       3.      That a constructive trust be entered over any revenues or proceeds realized by
Defendants, and each of them, through their infringement of Plaintiff’s rights;




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       4.      That Plaintiff recover her attorneys’ fees as available under the Copyright Act
U.S.C. §505 and/or §1203;

       5.      That Plaintiff be awarded her costs and fees under the statutes set forth above;
       6.      That Plaintiff be awarded statutory damages and/or penalties as set forth above;
       7.      That Plaintiff be awarded pre-judgment interest as allowed by law;
       8.      That Plaintiff be awarded the costs of this action; and
       9.      That Plaintiff receive such legal and equitable relief as the Court deems proper.
                                            JURY DEMAND
       Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P. 38 and the
       7th Amendment to the United States Constitution.


Dated: January 12, 2022                                      Respectfully Submitted,
New York, New York

                                                        By: ________________________
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                        EXHIBIT A




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                         EXHIBIT B




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